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                                                 March 7, 2022



 VIA ELECTRONIC FILING
 The Honorable Peggy Kuo, Magistrate Judge
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York

       Re:     Bell v. CVS Pharmacy, Inc.
               Case No.: 1:21-cv-06850-MKB-PK
               Letter Motion to Adjourn Initial Conference scheduled on March 14, 2022

Dear Judge Kuo:

        This law firm was recently retained to represent Defendant CVS Pharmacy, Inc. (“CVS”)
in the above-captioned lawsuit.

        On behalf of CVS, we write in advance of the Initial Conference, presently scheduled for
March 14, 2022, at 10:00 a.m. before Your Honor. (Doc. 5). Because of our recent retention,
counsel has not yet had the chance to meet and confer regarding the joint Proposed Discovery Plan
(presently due to be filed on March 9, 2022, per Doc. 5) and Rule 26(f) requirements. That meeting
with opposing counsel is now scheduled for March 14, 2022. We are working diligently to prepare
for the meeting with opposing counsel and will be exchanging a draft Proposed Discovery Plan in
advance of the Rule 26(f) meeting to ensure collaboration and timeliness.

        However, in order for recently retained counsel to enter appearances, become fully
immersed in the case, and to ensure that all counsel is in agreement regarding the Proposed
Discovery Plan and status of the case, including any potential settlement discussions, we ask that
the Initial Conference be postponed until April 8, 2022, with the Proposed Discovery Plan filing
deadline postponed until March 30, 2022.

       This is the first request for an adjournment and postponement. This request for
postponement is made in good faith and with no intention of delay, but rather to ensure all counsel
are concurring and prepared to come before the Court. All parties consent to the requested
adjournment and postponement of the Initial Conference, and this request is being made at least
two (2) business days before the scheduled conference, per Doc. 5.

       We thank the Court for its time and attention to this matter.




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                                       Very truly yours,

                                       BENESCH, FRIEDLANDER,
                                        COPLAN & ARONOFF LLP

                                       /s/ Elliot M. Smith

                                       Elliot M. Smith




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